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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

UNITED STATES OF AMERICA,                 :
                                          :
v.                                        :
                                          :       Case No.: 7:21-CR-00025 (WLS-TQL)
                                          :
AARON SUTHERLAND,                         :
                                          :
                                          :
       Defendant.                         :
                                          :
                                         ORDER
       Before the Court is a “Request for Leave of Absence” filed by AUSA Katelyn Semales,

counsel for the Government, stating that she will be on medical leave for the dates of

September 30, 2021 through February 17, 2022, that Attorney Michael Solis has already

entered an appearance for the Government, and that Attorney Solis will remain as counsel of

record until Attorney Semales returns from leave. (Doc. 31).

       For the reasons stated therein, the request (Doc. 31) is GRANTED.



       SO ORDERED, this 6th day of October 2021.

                                          /s/ W. Louis Sands
                                          W. LOUIS SANDS, SR. JUDGE
                                          UNITED STATES DISTRICT COURT




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